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1    WO
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5
6                       IN THE UNITED STATES DISTRICT COURT
7                                FOR THE DISTRICT OF ARIZONA
8
9    Valerie     Yeager,      as personal               No. CV-22-00574-PHX-DWL (ESW)
     representative of the Estate of
10   Christopher Yeager, et al.,
11                         Plaintiffs,                  ORDER
12   v.
13
     State of Arizona, et al.,
14
                           Defendants.
15
16          On February 24, 2020, Christopher Yeager (“Yeager”) was an inmate in the custody
17   of the Arizona Department of Corrections Rehabilitation and Reentry (“ADCRR”) and was
18   housed at the Arizona State Prison Complex-Florence (“ASPC-Florence”), Central Unit in
19   a single-occupancy cell.
20          Under ADCRR policy, the inmates in Yeager’s cell block—which ADCRR
21   considered a “close security” unit because the inmates represented “a high risk to the public
22   and staff”—were supposed to be locked down in their cells except under limited
23   circumstances. Nevertheless, on the morning of February 24, 2020, various cell doors in
24   Yeager’s cell block were left open and inmates were able to move throughout the cell block
25   in an unrestricted manner. At approximately 9:00 a.m., Yeager was violently assaulted
26   inside his cell by another inmate.
27          ADCRR policy also required corrections officers to follow various protocols for
28   conducting security checks throughout the day. Nevertheless, Yeager remained in his cell
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1    for more than seven hours before corrections officers claim to have first noticed his injuries.
2    Yeager died after he was taken to the hospital and there is evidence that Yeager likely
3    would have survived had he received more prompt medical assistance.
4           In this action, Yeager’s sister (as the personal representative of his estate) and
5    Yeager’s parents (together, “Plaintiffs”) have asserted claims under 42 U.S.C. § 1983
6    against five of the corrections officers who were working in Yeager’s cell block on the day
7    of the assault, under the theory that they were deliberately indifferent to Yeager’s safety
8    and well-being in violation of the Eighth Amendment. (Doc. 1-3 ¶¶ 54-65.) Plaintiffs have
9    also asserted a state-law wrongful death claim against the State of Arizona (“the State”).
10   (Id. ¶¶ 66-74.)
11          Now pending before the Court are Defendants’ motions for summary judgment.
12   (Docs. 249, 258, 252/282, 260, 269, 285.) Plaintiffs oppose the motions. (Doc. 306.)1 For
13   the reasons that follow, the motions are granted in part and denied in part.
14                                   STATEMENT OF FACTS
15          The background facts below are taken from the parties’ summary judgment
16   submissions and other materials in the record and are uncontroverted unless noted.
17   I.     Yeager, His Cellblock, And The Relevant Prison Policies
18          On February 9, 2016, Yeager began serving an eight-year sentence at ASPC-
19   Florence for auto vehicle theft. (Doc. 309 ¶ 1.)
20          On February 24, 2020, there were 991 inmates assigned to ASPC-Florence. (Doc.
21   307 ¶ 1.) Yeager was assigned to Cell 3G-01 in Cellblock No. 3 (“CB3”), where he had
22   been housed since July 31, 2018. (Doc. 309 ¶¶ 3-4; Doc. 307 ¶¶ 26-27.) All of the cells
23   in Central Unit were single cells. (Doc. 309 ¶ 5.) Yeager’s cell was at the end of the upper
24   level of the row of cells on the west side of CB3, known as the run, and was located the
25   farthest away from the key panel on its run. (Doc. 309 ¶ 6; Doc. 312 ¶ 56.) The location
26
27   1      The only party who requested oral argument is Officer Bromund. That request is
28   denied because the matter is fully briefed and oral argument will not aid the Court’s
     decision. See LRCiv 7.2(f).


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1    of Yeager’s cell made it difficult or even impossible for an officer standing in the key panel
2    area to accurately determine by sight whether it was open or closed. (Doc. 312 ¶ 57.)
3           CB3 housed 134 “close custody” inmates in eight different runs labeled “A” through
4    “I.” (Doc. 307 ¶ 4). Inmates receive a “close custody” security designation based on
5    various factors, including the severity of the crimes for which they are incarcerated. (Doc.
6    302 ¶ 15.) In February 2020, the inmates in CB3 included several convicted murderers and
7    violent offenders. (Id. ¶ 16.) ADCRR policy describes “close custody” inmates as those
8    “who represent a high risk to the public and staff.” (Id. ¶ 17.)
9           ADCRR policy required inmates in CB3 to “move in controlled movement,” which
10   means they had to have a specific, pre-approved reason to be let out of their cells (e.g., for
11   meals, recreation time, work assignments); otherwise, CB3 inmates “had to be locked down
12   in their cell.” (Id. ¶ 21.) Inmate movements in CB3 were controlled by the key officer,
13   whose job was to open and close the cell doors according to the instructions on the turnout
14   sheet (“TOS”) for that day, and were monitored by the control room officer and floor
15   officers. (Id. ¶¶ 23-24.)
16          Under ADCRR policy, when “close custody” inmates were traveling to chow or
17   recreation, they were supposed to engage in “mass movement” whereby the key officer
18   would open their cell doors and allow them to exit their cells and they would then “stage”
19   together inside the building until the turnout was complete. (Doc. 259 ¶ 9; Doc. 310 ¶ 9
20   [not disputing this description of the policy but asserting that “the unit did not operate in
21   accordance with policy with respect to inmate movement”].) Pursuant to the policy,
22   inmates were supposed to turn out to chow three times a day and turn out to recreation
23   multiple times per week. (Doc. 259 ¶¶ 11-12; Doc. 310 ¶¶ 11-12.)
24          ADCRR is required to allow “close custody” inmates at least 20 hours of out-of-cell
25   time per week. (Doc. 309 ¶ 8.) CB3 was known as a “worker’s building,” meaning that
26   inmates in CB3 frequently had work assignments that required them to be out of their cells.
27   (Id. ¶ 14.) Inmates were not required to be handcuffed to walk to and from daily activities.
28   (Id. ¶ 15.)



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1           Under ADCRR policy, security checks were supposed to be conducted “as close to
2    every 30 minutes as possible” and at least every hour. (Doc. 302 ¶ 30, 170. See also Doc.
3    283 ¶ 32 [sealed].) For each security check, the floor officer was required to physically
4    observe “living breathing flesh” of the inmate being checked on. (Doc. 302 ¶ 31. See also
5    Doc. 283 ¶ 31 [sealed].) If the floor officer could not see the inmate because it was too
6    dark, the floor officer was expected to use a flashlight or turn on the lights to confirm living,
7    breathing flesh. (Doc. 302 ¶ 34.) Additionally, ADCRR policy required a “formal count,”
8    in which the counting officer was required to verify that the inmate’s face matched his
9    prison-issued identification card and to confirm living, breathing flesh for each inmate.
10   (Doc. 302 ¶¶ 35-36. See also Doc. 283 ¶ 33 [sealed].) ADCRR policy required floor
11   officers to report each completed formal inmate count to the control room officer so it could
12   be recorded in the correctional services journal maintained by the control room officer.
13   (Doc. 302 ¶ 37.)
14          If an officer could not verify living, breathing flesh during a security check or
15   otherwise had reason to believe an inmate was injured or needed help, ADCRR policy
16   required the officer to initiate the Incident Command System (“ICS”) to get help from
17   additional officers. (Doc. 302 ¶ 38.) The ICS establishes protocol for responding to
18   emergencies within the prison. (Id. ¶ 39.) Officers are required to activate ICS within
19   three minutes of assessing an emergency situation. (Id. ¶ 40.) Because the cells in CB3
20   did not have emergency call buttons, the security checks conducted by the floor officers
21   were the only way for prison staff to learn of an emergency circumstance that was not
22   otherwise immediately obvious. (Id. ¶ 41.)
23          Before February 24, 2020, Yeager had no documented history of fights or assaults
24   with other inmates while incarcerated at ASPC-Florence. (Doc. 309 ¶ 16.)
25   II.    The Individual Defendants’ Background And Responsibilities
26          Following graduation from the Correctional Officer Training Academy, Defendants
27   Andrew Bromund (“Officer Bromund”) and Brent Hurst (“Officer Hurst”) were assigned
28   to work at ASPC-Florence Central. (Doc. 309 ¶ 19; Doc. 310 ¶¶ 19, 21, 24.) During the



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1    first three to four weeks of their assignments, Officers Bromund and Hurst were required
2    to participate in the ADCRR’s on-the-job training (“OJT”) (Doc. 309 ¶ 20.)
3           On February 24, 2020, Defendant Jose Mendoza (“CO II Mendoza”), who also
4    served as a floor officer at CB3, was serving as the Field Training Officer (“FTO”) for
5    Officers Bromund and Hurst. (Doc. 309 ¶ 21; Doc. 307 ¶¶ 15, 21.) CO II Mendoza started
6    working as an officer for the ADCRR in 2012. (Doc. 302 ¶ 48.) It is the FTO’s
7    responsibility to give officer trainees practical experience in performing their duties. (Doc.
8    307 ¶ 22.) CO II Mendoza was previously assigned to CB4 and had been assigned to CB3
9    for less than a week on February 24, 2020. (Doc. 307 ¶¶ 18-19.) As a result, CO II
10   Mendoza was still learning which inmate lived in each cell. (Id. ¶ 20.)
11          As an OJT officer, Officer Bromund shadowed CO II Mendoza and participated in
12   training-related activities at CO II Mendoza’s instruction. (Doc. 309 ¶ 22.) These activities
13   included: (1) performing security walks when instructed to do so by CO II Mendoza; (2)
14   escorting inmates to “chow”; (3) pulling inmates from their cells for urinalysis testing; (4)
15   strip searching inmates as they returned from certain job assignments; (5) searching
16   inmates as they returned from “rec”; (6) escorting inmates to medical appointments; and
17   (7) reviewing training modules on ADCRR’s computer system. (Id. ¶ 23.)
18          On February 24, 2020, Officer Bromund was working as an OJT officer for CB3.
19   (Id. ¶ 24.) Because he was new to the building, Officer Bromund was still in the process
20   of learning which inmate was assigned to each cell. (Id. ¶ 26.)
21          On February 24, 2020, Defendant Dylan Elvey (“Officer Elvey”) was working as
22   the key officer for CB3; in this capacity, it was his job to open the building and cell doors
23   for inmates and to assist floor officers. (Doc. 307 ¶ 16; Doc. 312 ¶ 30.) Officer Elvey had
24   worked that post for two or three years, usually on the morning shift. (Doc. 302 ¶ 55.)
25   CB3 had 16 key panels, one for the front half and one for the back half for each of two
26   sides (left or right) of each of its four floors. (Doc. 312 ¶ 31.) Officer Elvey, as key officer,
27   was tasked with operating all 16 panels during his shift. (Id. ¶ 32.) Officer Elvey was
28   required to move up and down floors and between key panels for each side nearly



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1    constantly throughout the day. (Id. ¶ 33.) The key panel had a selector pin for each door
2    under its control. (Id. ¶ 34.) Selector pins could be moved up or down. (Id. ¶ 35.) When
3    a pin was in the up position, its corresponding door was selected for movement, to be either
4    opened or closed. (Id. ¶ 36.) When a pin was in the down position, its corresponding door
5    would not be selected for movement and thus its door would be considered inactive. (Id.
6    ¶ 37.) Selecting a door with its selector pin did not move the door on its own, but enabled
7    it to be moved by the action of a separate lever. (Id. ¶ 38.) The lever could be moved left
8    or right to open or close those doors that were currently selected with their selector pins in
9    the up position. (Id. ¶ 39.) If a door was open but needed to remain open while a second
10   door’s opening or closing operation was being performed, that first door’s selector pin
11   would have to be moved to the down position to allow the second operation to be performed
12   without affecting the first door’s position. (Id. ¶ 40.)
13          At times, a malfunction would occur in which a door with its selector pin in the
14   down position would move open or closed despite not being selected. (Id. ¶ 41.) The key
15   panel did not have lights or other means of displaying which doors were open or closed at
16   any given time. (Id. ¶ 42.) The only visible indication of whether a door was open or
17   closed was either direct observation of the door or observing whether its pin on the key
18   panel was up or down, although the latter was not always correct. (Id. ¶ 43.)
19          The viewing angle from the control panel area did not allow a complete or clear
20   view of the position of every door on its corresponding run, especially for those doors
21   farther away from the key panel area. (Id. ¶ 44.) Officer Elvey’s duties required him to
22   move constantly from one key panel to the next, often on different floors. (Id. ¶ 45.)
23   Moving from one key panel to the next would require Officer Elvey to lose sight of the run
24   in front of Yeager’s cell. (Id. ¶ 46.) Officer Elvey was not the only corrections officer
25   with the ability to control the doors. (Id. ¶ 47.) Other officers could get the keys to the
26   tunnel where the control panels were located and then manipulate the doors. (Id. ¶ 48.) It
27   was common practice for corrections officers other than the key officer to manipulate the
28   doors throughout the day and for the key officer to assist other officers in their duties as



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1    well. (Id. ¶ 49.)
2           A single day shift in CB3 typically required between 600 and 900 opening and
3    closing operations of cell doors. (Id. ¶ 50.) The key officer was required to open and close
4    doors based on the schedule provided in the TOS for that day and to also open or close
5    doors for non-scheduled reasons as eventualities came up throughout the day. (Id. ¶ 51.)
6    Inmates may need to be “turned out” of their cells for reasons not prescheduled on the
7    master pass TOS, such as for medical, library, or chaplain visits. (Id. ¶ 52.) There were
8    typically 60 to 100 changes to the TOS during a day shift. (Id. ¶ 53.). According to POST
9    Orders, cell doors opened for a turnout were to be closed after the turnout was complete.
10   (Id. ¶ 54.)
11          On February 24, 2020, Defendant Steven Marshall (“CO II Marshall”) was working
12   as the control room officer for CB3. (Doc. 307 ¶ 17.) Pursuant to ADCRR policy, the
13   control room officer was required to remain at his post in the control room during the entire
14   shift, so he could continually observe activity occurring in the Housing Area through the
15   surveillance monitors. (Doc. 302 ¶ 25.) The control room officer was responsible for
16   making entries in the Correctional Service Journal, to include documenting the security
17   walks completed by floor officers. (Id. ¶ 26.) Officers were supposed to verbally notify
18   the officer in charge of making journal entries when they conducted a security walk or
19   formal count, either in person or on the radio. (Doc. 310 ¶ 90.) ADCRR policy permitted
20   a floor officer to exchange positions with the control room officer only if the exchange had
21   been approved by the shift commander. (Doc. 302 ¶ 27.) CO II Marshall started working
22   at the correctional facility around the second week of January 2020, and February 24, 2020
23   was his first or second day working in CB3. (Doc. 314 ¶¶ 26, 31.) CO II Mendoza was
24   CO II Marshall’s FTO. (Id. ¶ 27.)
25   III.   The Events Of February 24, 2020
26          In practice, every day before housing unit officers began their shifts, they were
27   supposed to be informed of information from the Daily Briefing Sheet. (Doc. 302 ¶ 62.) 2
28
     2      Defendants object to the admissibility of the Daily Briefing Sheet on several

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1    On February 24, 2020, the Daily Briefing Sheet for CB3 expressly warned officers that
2    there were “[l]ots of assaults lately” and to “be mindful of situational awareness,” “[w]atch
3    for inmates acting funny,” and “DO NOT BECOME COMPLACENT.” (Id. ¶ 63.) It also
4    instructed that “[a]ll gates and doors will be secured at all times. This includes cell doors.”
5    (Doc. 302-1 at 266.) On that day, all of the CB3 officers had radios they could use to
6    communicate with each other while in different areas of the prison. (Doc. 302 ¶ 28.)
7    Unlike the control room officers, ADCRR policy required floor officers to remain in
8    constant motion in the housing unit so they could observe, supervise, and report inmate
9    behavior and provide an immediate response to emergency situations. (Id. ¶ 29.)
10          At 6:33 a.m. on February 24, 2020, CO II Mendoza completed a security check in
11
12   grounds. First, some Defendants argue that the statements in the Daily Briefing Sheet are
13   hearsay. (See, e.g., Doc. 331 at 6.) But statements regarding the dangerous conditions in
     the prison on the day of the incident are admissible for the non-hearsay purposes of
14   providing notice to Defendants and establishing Defendants’ knowledge and mindset. Saul
15   Zaentz Co. v. Wozniak Travel, Inc., 627 F. Supp. 2d 1096, 1113 (N.D. Cal. 2008) (“When
     a [document] is offered to prove what the [document] asserts . . . this is classic inadmissible
16   hearsay. When, however, a [document] is offered to prove the effect of the report on the
17   listener, i.e. to show notice to the recipient, this does not fall within the definition of hearsay
     and is admissible evidence.”). Second, some Defendants argue that “the statement, itself,
18   has never been authenticated.” (See, e.g., Doc. 331 at 6-7.) However, Defendants do not
19   elaborate on this argument and do not explain the origin of this document, including and
     whether they, themselves, disclosed it. Carolina v. JPMorgan Chase Bank NA, 2021 WL
20   5396066, *6 (D. Ariz. 2021) (“[B]ecause Plaintiff does not develop her authenticity
     challenge in any depth, the Court deems it forfeited.”). Cf. Sandoval v. Cnty. of San Diego,
21
     985 F.3d 657, 666 (9th Cir. 2021) (district court erred by sustaining “unexplained
22   generalized objections” to summary judgment evidence). At any rate, a document may be
     self-authenticating where “[t]he appearance, contents, substance, internal patterns, or other
23   distinctive characteristics of the item, taken together with all the circumstances,” support
24   that the item is what the proponent claims it is. Fed. R. Evid. 901(b)(4). Here, the Daily
     Briefing Sheet is labeled as an “Arizona Department of Corrections – Security Staffing”
25   form, it is entitled “Daily Briefing Sheet” for the Florence Complex-Central Unit, it
26   includes the date and shift it purports to cover, and it is signed by the Shift Commander,
     Chief of Security, and Deputy Warden. (Doc. 302-1 at 266.) Third, some Defendants
27   argue that because they testified they did not see the Daily Briefing Sheet on the day of the
28   incident, there is “no evidence” that they saw it. (See, e.g., Doc. 328 at 8.) But this
     argument goes to the weight of the evidence, not admissibility.


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1    CB3. (Doc. 307 ¶ 34.) At around 7:44 a.m., Yeager’s cell door was opened “for absolutely
2    no reason” consistent with a penological interest. (Doc. 302 ¶ 64.) Almost immediately
3    after the cell was opened, two inmates entered Yeager’s cell. (Id. ¶ 65.) Approximately
4    five minutes later, one of the inmates exited Yeager’s cell. (Id. ¶ 66.) A few minutes after
5    that, the cell door closed with the other inmate still inside. (Id.) About three minutes later,
6    at or about 7:56 a.m., the cell door was reopened and the other inmate stepped out of the
7    cell with Yeager. (Id. ¶ 67.) By 8:49 a.m., Yeager had returned to his cell. (Id. ¶ 68.)
8           At approximately 8:58 a.m., inmates Jon Simmons (“Inmate Simmons”) and Robert
9    Leighton (“Inmate Leighton”) arrived at Yeager’s cell. (Doc. 310 ¶ 47.) Yeager spoke
10   with them, reentered his cell, and began clearing items from the floor and area. (Id.)
11          At approximately 8:59 a.m., Inmate Simmons stepped into Yeager’s cell and Inmate
12   Leighton stood covering the door. (Doc. 309 ¶ 31; Doc. 310 ¶ 48.) Yeager was assaulted
13   at 9:00 a.m. or shortly thereafter. (Doc. 310 ¶ 50.) At 9:00 a.m., Inmate Simmons stepped
14   out of the cell and left the pod. (Id. ¶ 49.)
15          Between 9:00 a.m. and 9:07 a.m., inmates cleaned Yeager’s cell. (Doc. 310 ¶ 52.)
16          At 9:06 a.m., Officer Hurst and CO II Mendoza entered the run for a security check
17   and entered the lowest tier of the unit. (Doc. 307 ¶ 39.) Yeager’s cell was on the upper
18   tier. (Id.) CO II Mendoza did not go upstairs to Yeager’s cell, but at 9:07 a.m., Officer
19   Hurst went to the upper tier. (Id. ¶ 40.) Officer Hurst then went upstairs alone and walked
20   down the second-floor run, toward Yeager’s cell. (Doc. 302 ¶ 72.) Yeager’s cell was still
21   open at this time. (Id. ¶ 73.) As Officer Hurst approached Yeager’s cell, another inmate
22   stepped out of it. (Id. ¶ 74.) Officer Hurst walked past the inmate and glanced into
23   Yeager’s open cell. (Doc. 302 ¶ 75; Doc. 283 ¶ 55; Doc. 310 ¶ 55.)3 Officer Hurst then
24   turned around to address the inmate who had been in Yeager’s cell but did not send him
25   back to his cell or confirm where he was supposed to be. (Doc. 302 ¶ 76.)
26
27   3      Officer Hurst has made inconsistent claims that (1) he verified Yeager’s “living
28   breathing flesh” when he glanced in Yeager’s cell at 9:07 a.m. and (2) he did not confirm
     Yeager’s “living breathing flesh” during his security walk. (Doc. 302 ¶¶ 78-79.)


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1           Between 9:10 a.m. and 9:13 a.m., after Officer Hurst left the run, inmates returned
2    to Yeager’s cell to resume cleaning; they brought trash bags and towels into the cell as if
3    to clean up a mess. (Doc. 302 ¶ 81; Doc. 309 ¶¶ 32, 41; Doc. 310 ¶ 57.)
4           At or around 9:30 a.m., Yeager’s cell block neighbor, Kenneth Severns (“Inmate
5    Severns”), reportedly arrived back at his cell. (Doc. 302 ¶ 82.) 4 When Inmate Severns
6    arrived at his cell, he observed that Yeager was lying on the floor, unresponsive in a pool
7    of his own blood, with obvious injuries. (Id. ¶ 83.)
8           At or around 10:28 a.m., Yeager’s cell door finally closed. (Id. ¶ 84.)
9           At 11:00 a.m., CO II Mendoza asked CO II Marshall, who was the assigned control
10   room officer, to complete the formal count (even though CO II Mendoza did not have the
11   authority to make such a request, which needed to be approved by the shift commander
12   pursuant to ADCRR policy).5 (Doc. 283 ¶ 42; Doc. 307 ¶ 42.)
13          At 11:20 a.m., CO II Marshall walked the length of the second-floor run and stopped
14   in front of Yeager’s cell. (Doc. 302 ¶ 89; Doc. 307 ¶ 43.) CO II Marshall stood in front of
15   Yeager’s cell and stared into it for approximately three minutes. (Doc. 302 ¶ 90.) At one
16   point, CO II Marshall removed his radio from its holster in preparation to make a radio
17   call, but he then returned the radio to its case and walked away. (Id. ¶ 91.) CO II Marshall
18   made later statements6 that (1) he stood there for so long because he could not see Yeager’s
19   identification card and (2) “the whole point with the, pulling my radio out was cause he
20   wasn’t answering.” (Id. ¶¶ 93-94.) CO II Marshall claimed that he saw Yeager laying on
21   his back on his bed and that he could see Yeager’s face clearly to identify him and confirm
22
23
     4      Some Defendants object to Inmate Severns’s statements as inadmissible hearsay
     because they are taken from an interview conducted during an investigation after the
24   incident (see, e.g., Doc. 331 at 10-11), but these statements could be presented in an
     admissible form at trial. JL Beverage Co., LLC v. Jim Beam Brands Co., 828 F.3d 1098,
25
     1110 (9th Cir. 2016).
26   5      CO II Marshall asserts that he was unaware of this policy. (Doc. 285 ¶ 47.)
27   6      Some Defendants object, on hearsay grounds, to audio recordings of their interviews
28   recorded during the prison’s investigation. This objection is unavailing because the
     recordings reflect statements of a party opponent. See Fed. R. Evid. 801(d)(2).


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1    his living, breathing flesh. (Id. ¶ 96.)
2           At 12:52 p.m., Officer Hurst walked the length of the upstairs run of CB3. (Doc.
3    307 ¶¶ 45-46.) During this security check, Officer Hurst again quicky glanced into
4    Yeager’s cell. (Doc. 302 ¶ 104.) Officer Hurst stated that he confirmed Yeager’s “living
5    breathing flesh” during this security walk. (Id. ¶ 105.) However, Officer Hurst later told
6    a prison investigator that he failed to properly conduct security checks on February 24,
7    2020. (Id. ¶ 106.)
8           At 12:53 p.m., Yeager’s cell door was opened again for “chow” but Yeager did not
9    exit his cell. (Id. ¶ 107.) From approximately 12:53 p.m. to 1:25 p.m., Yeager’s cell door
10   was inexplicably opened again. (Id. ¶ 108.) During that time, Yeager did not exit his cell,
11   but several inmates entered and exited his cell and his door remained opened. (Id. ¶ 109.)
12          At or around 2:25 p.m., CO II Mendoza instructed Officer Bromund to follow him
13   while he conducted a security check of CB3. (Doc. 309 ¶ 39.) At or around 2:42 p.m.,
14   Officer Bromund looked into Yeager’s cell. (Id. ¶ 40.) Officer Bromund initially stated
15   that Yeager was lying down “with his back to [Officer Bromund]” but later stated that he
16   was able to confirm Yeager’s living, breathing flesh because he saw Yeager’s chest
17   movement. (Doc. 302 ¶¶ 115-116.) CO II Mendoza did not attempt to look into Yeager’s
18   cell, but rather stopped walking right before reaching Yeager’s cell. (Doc. 302 ¶ 111.) The
19   video reflects that after looking into Yeager’s cell, Officer Bromund spoke to CO II
20   Mendoza and gestured over his shoulder toward Yeager’s cell. (Id. ¶ 117.)
21          At or around 3:17 p.m., Officers Bromund and Hurst were instructed to conduct
22   another security check of CB3. (Doc. 309 ¶ 46.) Officer Bromund started the check at or
23   around 3:17 p.m. but did not proceed all the way down the run to Yeager’s cell. (Doc. 307
24   ¶ 51.) CO II Mendoza was watching Officer Bromund complete this walk from the control
25   room. (Doc. 302 ¶ 119.) Officer Bromund later told investigators that he did not recall
26   that he only completed half the walk and later testified that he believed CO II Mendoza “or
27   another officer” called him away for a training exercise, which prevented him from
28   completing security checks for the last five cells on the run. (Doc. 302 ¶¶ 122-25.) Officer



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1    Bromund stated that he was told by his supervisor that the walk would be completed and
2    entered into the log. (Id. ¶ 126.) However, CO II Mendoza, Officer Bromund’s supervisor,
3    testified that he did not call Officer Bromund away for a training assignment and did not
4    know that Officer Bromund failed to complete the security walk. (Id. ¶¶ 127-28.)
5           Shortly after 4:00 p.m., CO II Mendoza instructed Officers Bromund and Hurst to
6    conduct formal counts and a security check of CB3. (Doc. 309 ¶ 53.)
7           At 4:16 p.m., while conducting formal counts, Officer Bromund looked into
8    Yeager’s cell and saw Yeager lying face-first on the floor. (Id. ¶ 54.) When Yeager was
9    found, he was unresponsive, there was blood on his head and face and on the ground, and
10   there was vomit all over the bunk. (Doc. 302 ¶ 97; Doc. 309 ¶ 32.)
11          At or about 4:17 p.m., Officer Hurst activated an ICS. (Doc. 309 ¶ 55.) Yeager was
12   transported to Chandler Regional Medical Center and was in a vegetative state until he died
13   on March 14, 2020. (Doc. 302 ¶¶ 135-36; Doc. 309 ¶ 56.)
14   IV.    The Investigation
15          After the assault, the Deputy Warden of the Central Unit, Jason Monson (“Deputy
16   Warden Monson”), instructed Lieutenant Kolton Wood (“Lieutenant Wood”) to review
17   footage of the unit on the day of the assault. (Doc. 302 ¶¶ 145-46.) Lieutenant Wood
18   documented multiple deviations from ADCRR policy and Deputy Warden Monson
19   identified the need for the investigation to go “in a different direction than the original
20   information suggesting an inmate overdose” because he “suspect[ed] foul play.” (Id.
21   ¶¶ 147-51.) Deputy Warden Monson requested that an investigator in the Department’s
22   Criminal Investigations Unit conduct an investigation. (Id. ¶¶ 150.) At the conclusion of
23   the investigation, Deputy Warden Monson recommended that CO II Mendoza, CO II
24   Marshall, and Officer Elvey be fired and that Officers Hurst and Bromund be suspended.
25   (Id. ¶¶ 153-58.)7 CO II Mendoza, Officer Bromund, and CO II Marshall then voluntarily
26
     7       Some Defendants assert that these recommendations are inadmissible because they
27
     constitute subsequent remedial measures under Rule 407. (See, e.g., Doc. 329 at 2.) As an
28   initial matter, it is not clear that any individual Defendant could invoke Rule 407 in this
     context or that unheeded recommendations could ever qualify as subsequent remedial

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1    resigned. (Id. ¶¶ 159-161.)
2           ADCRR then initiated two further tracks of investigation, one by the Administrative
3    Investigations Unit conducted by Justin Varvel (“Varvel”) and one by the Criminal
4    Investigations Unit conducted by Mark King (“King”). (Id. ¶¶ 162-63, 190.) Varvel was
5    unable to interview Officer Bromund, CO II Mendoza, and CO II Marshall due to their
6    voluntary resignations, but he interviewed Officers Hurst and Elvey, reviewed the video of
7    Yeager’s housing unit from the day of the assault, reviewed Deputy Warden Monson’s
8    investigation, and reviewed the journal kept by CO II Marshall documenting the security
9    checks that occurred throughout the day. (Id. ¶¶ 164-67.) Varvel’s report concluded that
10   notes of seven security walks were falsely entered into the journal, that these walks had
11   never been performed, that security walks were not performed as close to every 30 minutes
12   as possible (as required by ADCRR policy), and that there were pervasive violations of
13   ADCRR policies and orders. (Id. ¶¶ 169-171.)
14          As for CO II Mendoza, Varvel concluded that he (1) failed to provide for the safe
15   and orderly operation of his duty post; (2) switched positions with the control room officer,
16   CO II Marshall, without his supervisor’s approval; (3) failed to conduct security checks
17   according to policy; (4) failed to remain in constant motion; (5) failed to verify if inmates
18   who entered and exited the housing unit were on the master pass/TOS list; and (6) did not
19   verify where inmates were assigned as they entered the housing unit. (Id. ¶ 172.)
20          As for CO II Marshall, Varvel concluded that he (1) did not properly log security
21   checks; and (2) had logged health and welfare checks that were never conducted. (Id.
22   ¶ 173.) Additionally, during an interview with King, CO II Marshall at first denied that he
23   spoke to Inmate Severns on the day of the assault, but after King showed him footage, he
24   stated that he spoke to Inmate Severns about Yeager, that he was “going to activate [ICS],”
25   and that he did not know why he would allow Inmate Severns to talk him out of initiating
26   an ICS. (Id. ¶¶ 191-94.)
27
28   measures. Regardless, the Court has not relied on this evidence in resolving the summary
     judgment motions.


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1           As for Officer Elvey, Varvel concluded that he (1) opened Yeager’s door and kept
2    it open, resulting in multiple inmates entering and exiting the cell; (2) failed to verify if
3    Yeager was on a master pass or TOS system list; (3) failed to verify if inmates entering and
4    exiting the housing unit were on the master pass or TOS system list; (4) kept Yeager’s door
5    open for over two hours; and (5) allowed inmates to cross from the east side of the housing
6    unit to the west side of the unit, resulting in Yeager’s assault. (Id. ¶ 179.) Additionally,
7    Officer Elvey admitted to Varvel that it was his job to make sure that Yeager’s door was
8    closed and secured. (Id. ¶ 175.)
9           As for Officer Hurst, he admitted during an interview with Varvel that he did not
10   check whether Yeager was alive and breathing during his 9:06 a.m. security walk; that he
11   knew there were doors open on the day of the attack but was not sure what to do about it,
12   so he did nothing; and that although he was not authorized to open cell doors on his own,
13   he and Officer Bromund would sometimes open and close cell doors when the key officer
14   was not in the building. (Id. ¶¶ 180-88.)
15          During these interviews, officers variously testified that the unit did not generally
16   operate in accordance with policy. (Id. ¶ 210.) For example, CO II Mendoza testified that
17   post orders were “not how we did it in practice” and although policies required officers to
18   remain in constant motion, “in practice, we didn’t do constant motion. We did once an
19   hour.” (Id.) Officer Elvey testified that inmates should be accompanied by officers when
20   they left their cells but “I’ve never seen it done 100% correctly.” (Id.) Officer Bromund
21   testified that although policies require cell doors to be closed “if the cell is never open,
22   nothing would ever get done” and that although inmates weren’t allowed to enter other
23   inmates’ cells, Officer Bromund saw it happen daily and was told by CO II Mendoza “that’s
24   just part of the deal, part of the way they were running the floor.” (Id.)
25                           SUMMARY JUDGMENT STANDARD
26          A court must grant summary judgment “if the movant shows that there is no genuine
27   dispute as to any material fact and the movant is entitled to judgment as a matter of law.”
28   Fed. R. Civ. P. 56(a); see Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986). The



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1    movant bears the initial responsibility of presenting the basis for its motion and identifying
2    those portions of the record, together with affidavits, if any, that it believes demonstrate
3    the absence of a genuine issue of material fact. Celotex, 477 U.S. at 323.
4           If the movant fails to carry its initial burden of production, the nonmovant need not
5    produce anything. Nissan Fire & Marine Ins. Co., Ltd. v. Fritz Co., Inc., 210 F.3d 1099,
6    1102-03 (9th Cir. 2000). But if the movant meets its initial responsibility, the burden shifts
7    to the nonmovant to demonstrate the existence of a factual dispute and that the fact in
8    contention is material, i.e., a fact that might affect the outcome of the suit under the
9    governing law, and that the dispute is genuine, i.e., the evidence is such that a reasonable
10   jury could return a verdict for the nonmovant. Anderson v. Liberty Lobby, Inc., 477 U.S.
11   242, 248, 250 (1986); see Triton Energy Corp. v. Square D. Co., 68 F.3d 1216, 1221 (9th
12   Cir. 1995). The nonmovant need not establish a material issue of fact conclusively in its
13   favor, First Nat’l Bank of Ariz. v. Cities Serv. Co., 391 U.S. 253, 288-89 (1968); however,
14   it must “come forward with specific facts showing that there is a genuine issue for trial.”
15   Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986) (internal
16   citation omitted); see Fed. R. Civ. P. 56(c)(1).
17          At summary judgment, the judge’s function is not to weigh the evidence and
18   determine the truth but to determine whether there is a genuine issue for trial. Anderson,
19   477 U.S. at 249. In its analysis, the court must believe the nonmovant’s evidence and draw
20   all inferences in the nonmovant’s favor. Id. at 255. The court need consider only the cited
21   materials, but it may consider any other materials in the record. Fed. R. Civ. P. 56(c)(3).
22                                          DISCUSSION
23   I.     Count One
24          A.     Overview
25          In Count One of the complaint, Plaintiffs assert a § 1983 claim against the five
26   individual Defendants, alleging that each of them “violated the Eighth Amendment . . . by
27   being deliberately indifferent to the safety and well-being of [Yeager] as set forth above.”
28



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1    (Doc. 1-3 ¶¶ 55, 58.)8
2           Although Plaintiffs’ briefing is not a model of clarity on this issue, Plaintiffs’ theory
3    appears to be that the individual Defendants were deliberately indifferent to Yeager’s
4    safety and well-being (and thus violated the Eighth Amendment) in two distinct ways: first,
5    by failing to protect Yeager from the attack by the other inmates (Doc. 306 at 29 [“[F]ederal
6    courts consistently recognize that prison officials violate an inmate’s clearly established
7    right to safety and freedom from inmate-on-inmate assault when the officers are
8    deliberately indifferent to prison conditions that pose an excessive risk of harm.”]); and
9    second, by failing to provide medical and other assistance to Yeager following the attack
10   (id. at 22-23 [“Dr. Dragovic also concluded that the fact that [Yeager] had been left without
11   assistance for so long was the cause of [Yeager’s] death . . . . [I]f [Yeager’s] injuries had
12   been addressed within a reasonable amount of time, he more likely would have recovered
13   from his head injuries”].)9 Some Defendants also appear to interpret Count One in this
14   fashion. (See, e.g., Doc. 282 at 7-8 [CO II Mendoza’s motion, separately addressing the
15   standards for a “Failure to Protect” claim under the Eighth Amendment and a “Deliberate
16   Indifference to Serious Medical Needs” claim under the Eighth Amendment].)
17          The Court agrees that this is the appropriate way to conceptualize Count One. In
18   Lemire v. Cal. Dep’t of Corrections & Rehabilitation, 726 F.3d 1062 (9th Cir. 2013), the
19   Ninth Circuit addressed a somewhat analogous situation. There, two supervisory prison
20   officials (Sisto and Neuhring) chose to convene a staff meeting that resulted in the absence
21   of all floor officers, for a period of more than three hours, from a building that housed an
22   inmate (St. Jovite) who, “[d]uring his incarceration, was treated for depression, anxiety,
23   panic attacks, and early stages of agoraphobia . . . [and] stated that his ‘daily life [was]
24
     8      Although the complaint also names the State as a defendant with respect to Count
25   One (Doc. 1-3 at 6), the State has now moved for summary judgment on that claim (Doc.
26   260 at 6-7) and Plaintiffs concede in their response that the State “is not liable under 42
     U.S.C. § 1983 because it is not a ‘person’ as defined by the statute.” (Doc. 306 at 23 n.208.)
27   Accordingly, the State’s motion as to Count One is granted.
     9      Similarly, in the Rule 26(f) report, Plaintiffs characterized the nature of the case as
28   follows: “Plaintiffs allege that Defendants’ acts and omissions leading up to and following
     his assault resulted in Mr. Yeager’s death.” (Doc. 13 at 2, emphasis added.)


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1    almost unmanageable.’” Id. at 1068-69. During this unsupervised period, St. Jovite
2    attempted to commit suicide. Id. The first two floor officers to discover St. Jovite
3    following the suicide attempt (Cahoon and Holliday) failed to perform CPR and otherwise
4    “delayed administering aid to St. Jovite, while St. Jovite was unconscious, unresponsive,
5    and purplish in color on the floor.” Id. at 1082. In an ensuing § 1983 action, St. Jovite’s
6    estate and family members sued an array of prison officials “for alleged violations of the
7    Eighth Amendment” and the district court granted summary judgment in favor of all
8    defendants. Id. at 1068. The Ninth Circuit reversed in part, holding that (1) there was “a
9    triable issue of fact as to whether Sisto and Neuhring were deliberately indifferent to St.
10   Jovite’s safety and welfare when one or both decided to convene two back-to-back staff
11   meetings resulting in a lack of supervision in Building 8 for a period of up to three and a
12   half hours”; and (2) there was also “a triable issue of fact as to whether Cahoon and
13   Holliday were deliberately indifferent to St. Jovite’s potentially serious medical need when
14   they failed to administer CPR prior to the arrival of prison medical staff.” Id. at 1086
15   (emphases added). Notably, the Ninth Circuit analyzed each set of claims under a different
16   legal framework. As for the “safety and welfare” claims against Sisto and Neuhring, the
17   court applied the standards established in Farmer v. Brennan, 511 U.S. 825 (1994), and its
18   progeny. As for the “serious medical needs” claims against Cahoon and Holliday, the court
19   applied the standards established in Jett v. Penner, 439 F.3d 1091 (9th Cir. 2006), and its
20   progeny.10
21          The same approach is warranted here. Indeed, as discussed in more detail below,
22   distinguishing between these two theories of liability is particularly necessary when
23   addressing the second prong of the qualified immunity analysis (which requires a detailed
24   analysis of the legal landscape at the time of the incident) and when addressing the issue
25
26   10     Similarly, in Berg v. Kincheloe, 794 F.2d 457 (9th Cir. 1986), the Ninth Circuit
     observed that although “a case involving a prisoner’s safety from attacks by other
27   prisoners” is “analogous to a case in which a prisoner-patient seeks but is denied relief
     from an infirmity” and that the “similarities” between the two types of cases are “obvious”
28   (in part because “in both cases, liability is measured by the ‘deliberate indifference’
     standard”), there are also differences between the two types of claims. Id. at 461-62.


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1    of causation.
2           B.       Failure To Protect Yeager From An Inmate-On-Inmate Attack
3                    (Deliberate Indifference To Safety And Welfare)
4                    1.    Legal Standard
5           “The Eighth Amendment imposes a duty on prison officials to protect inmates from
6    violence at the hands of other inmates.” Cortez v. Skol, 776 F.3d 1046, 1050 (9th Cir.
7    2015). “It is not, however, every injury suffered by one prisoner at the hands of another
8    that translates into constitutional liability for prison officials responsible for the victim’s
9    safety.”    Farmer, 511 U.S. at 834.       Instead, “a prison official violates the Eighth
10   Amendment only when two requirements are met.” Id.
11          “First, the deprivation alleged must be, objectively, sufficiently serious . . . . For a
12   claim . . . based on a failure to prevent harm, the inmate must show that he is incarcerated
13   under conditions posing a substantial risk of serious harm.” Id. “The objective question
14   of whether a prison officer’s actions have exposed an inmate to a substantial risk of serious
15   harm is a question of fact, and as such must be decided by a jury if there is any room for
16   doubt.” Lemire, 726 F.3d at 1075-76.
17          “The second requirement follows from the principle that only the unnecessary and
18   wanton infliction of pain implicates the Eighth Amendment. [Thus], a prison official must
19   have a sufficiently culpable state of mind. In prison-conditions cases that state of mind is
20   one of deliberate indifference to inmate health or safety.” Farmer, 511 U.S. at 834 (cleaned
21   up). “In other words, the official must both be aware of facts from which the inference
22   could be drawn that a substantial risk of serious harm exists, and he must also draw the
23   inference.” Cortez, 776 F.3d at 1050 (internal quotation marks omitted). “Deliberate
24   indifference is something more than mere negligence but something less than acts or
25   omissions for the very purpose of causing harm or with knowledge that harm will result.”
26   Id. (internal quotation marks omitted). “A prison official’s deliberate indifference may be
27   established through an inference from circumstantial evidence or from the very fact that
28   the risk was obvious.” Id. (internal quotation marks omitted).



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1           Finally, a plaintiff asserting an Eighth Amendment-based failure-to-protect claim
2    “must also demonstrate that the defendants’ actions were both an actual and proximate
3    cause of their injuries.” Lemire, 726 F.3d at 1074.
4                  2.     The Parties’ Arguments
5           Although the five individual Defendants’ summary judgment motions raise an array
6    of different arguments that do not always overlap, each individual Defendant argues that
7    he is, at a minimum, entitled to summary judgment under the second prong of the qualified
8    immunity standard because there was no clearly established law as of February 24, 2020
9    showing that the conduct at issue here violated the Eighth Amendment. (Doc. 249 at 11-
10   14 [Officer Bromund]; Doc. 258 at 13-15 [Officer Hurst]; Doc. 269 at 7-8 [Officer Elvey];
11   Doc. 282 at 14-15 [CO II Mendoza]; Doc. 285 at 9-11 [CO II Marshall].)
12          In response, Plaintiffs identify the following seven cases as supplying the clearly
13   established law supporting their claim in Count One: (1) Farmer; (2) Barefield v. Dunn,
14   688 F. Supp. 3d 1026 (M.D. Ala. 2023); (3) Cortez v. Skol, 2016 WL 3658954 (D. Ariz.
15   2016); (4) Dickinson v. Cochran, 833 F. App’x 268 (11th Cir. 2020); (5) Green v. Padilla,
16   484 F. Supp. 3d 1098 (D.N.M. 2020); (6) Wilson v. Dunn, 618 F. Supp. 3d 1253 (N.D. Ala.
17   2022); and (7) Moaddab v. Cnty. of Orange, 2019 WL 1751841 (C.D. Cal. 2019). (Doc.
18   306 at 29-34.) Additionally, earlier portions of Plaintiffs’ brief seem to identify the Ninth
19   Circuit’s decisions in Lemire and Cortez as providing further support for Count One. (Id.
20   at 23-29.) Alternatively, Plaintiffs argue that “qualified immunity may even be denied in
21   novel circumstances.” (Id. at 34-35.)
22                 3.     Analysis
23          “Qualified immunity shields federal and state officials from money damages unless
24   a plaintiff pleads facts showing (1) that the official violated a statutory or constitutional
25   right, and (2) that the right was ‘clearly established’ at the time of the challenged conduct.”
26   Ashcroft v. al-Kidd, 563 U.S. 731, 735 (2011). Courts “have discretion to address the
27   ‘clearly established’ prong of the qualified immunity test first; if [they] conclude that the
28   relevant law was not clearly established, [they] need not address the other prong concerning



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1    the underlying merits of the constitutional claim.” Shooter v. Arizona, 4 F.4th 955, 961
2    (9th Cir. 2021) (internal quotation marks omitted). The Court will exercise its discretion
3    to begin with the clearly established prong here because, as discussed below, it is
4    dispositive as to the failure-to-protect component of Count One.
5           A government official’s conduct violates clearly established law when “the contours
6    of a right are sufficiently clear that every reasonable official would have understood that
7    what he is doing violates that right.” Ashcroft, 563 U.S. at 741 (cleaned up). Although
8    there need not be a “case directly on point,” “existing precedent must have placed the
9    statutory or constitutional question beyond debate.” Id. In other words, the case law must
10   “have been earlier developed in such a concrete and factually defined context to make it
11   obvious to all reasonable government actors, in the defendant’s place, that what he is doing
12   violates federal law.” Shafer v. Cnty. of Santa Barbara, 868 F.3d 1110, 1117 (9th Cir.
13   2017). See also Kisela v. Hughes, 584 U.S. 100, 104 (2018) (“This Court has repeatedly
14   told courts—and the Ninth Circuit in particular—not to define clearly established law at a
15   high level of generality.”) (cleaned up); West v. City of Caldwell, 931 F.3d 978, 983 (9th
16   Cir. 2019) (“[W]e must locate a controlling case that squarely governs the specific facts at
17   issue, except in the rare obvious case in which a general legal principle makes the
18   unlawfulness of the officer’s conduct clear despite a lack of precedent addressing similar
19   circumstances.”) (cleaned up). “The plaintiff bears the burden of pointing to prior case law
20   that articulates a constitutional rule specific enough to alert these officers in this case that
21   their particular conduct was unlawful.” Hughes v. Rodriguez, 31 F.4th 1211, 1223 (9th
22   Cir. 2022) (cleaned up).
23          As for the “particular conduct” underlying the failure-to-protect claim in this case,
24   only the acts and omissions by the Individual Defendants that occurred before 9:00 a.m.
25   could have contributed to the attack on Yeager—it is undisputed that the attack occurred
26   at 9:00 a.m. and there is no suggestion (let alone evidence) that Yeager was subjected to
27   another attack afterward. Thus, acts and omissions that occurred after 9:00 a.m. have no
28   causal relationship with the attack itself. Lemire, 726 F.3d at 1074 (“[P]laintiffs alleging



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1    deliberate indifference must also demonstrate that the defendants’ actions were both an
2    actual and proximate cause of their injuries.”). See generally Ambassador Hotel Co., Ltd.
3    v. Wei-Chuan Invest., 189 F.3d 1017, 1029 (9th Cir. 1999) (“[T]o have been the cause (or
4    one cause) of a particular event, any given factor must have contributed to the actual
5    outcome; events which occur after the injury has occurred cannot be said to have caused
6    the injury.”). Construed in the light most favorable to Plaintiffs, the evidence shows that
7    before 9:00 a.m. on February 24, 2020, various cell doors in Yeager’s cell block were left
8    open without explanation (in violation of prison policy); inmates were allowed to move in
9    an unrestricted manner between cells (in violation of prison policy); and inmate counts and
10   checks were not conducted according to prison policy. Additionally, although Yeager had
11   no documented history of fights or assaults with other inmates while incarcerated at ASPC-
12   Florence, a reasonable jury could find that Defendants were generally aware on February
13   24, 2020 of the need for protect against inmate-on-inmate violence, both due to the nature
14   of the inmates in Yeager’s “close custody” unit and due to the Daily Briefing Sheet, which
15   stated that there were “[l]ots of assaults lately,” cautioned prison personnel to “be mindful
16   of situational awareness,” “[w]atch for inmates acting funny,” and “DO NOT BECOME
17   COMPLACENT,” and instructed that “[a]ll gates and doors will be secured at all times.
18   This includes cell doors.” (Doc. 302-1 at 266.)11
19          Even still, none of Plaintiffs’ cited cases would have alerted Defendants that, as of
20   February 24, 2020, the challenged conduct was prohibited by the Eighth Amendment. As
21   an initial matter, although Plaintiffs contend that as many as nine decisions supply the
22   clearly established law supporting their failure-to-protect claim, only three of those cases
23   (Farmer, Cortez, and Lemire) are prior decisions by the Ninth Circuit or the Supreme
24   Court. Sharp v. Cnty. of Orange, 871 F.3d 901, 911 (9th Cir. 2017) (“[T]he prior precedent
25   must be ‘controlling’—from the Ninth Circuit or Supreme Court—or otherwise be
26
     11     Although various Defendants deny having reviewed or otherwise been made aware
27   of the Daily Briefing Sheet on February 24, 2020, there is evidence that it was customary
     for officers to be informed of the information within the Daily Briefing Sheet at the
28   beginning of each shift. (Doc. 302 ¶ 62.) Accordingly, a factfinder must decide whether
     to accept Defendants’ denials.


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1    embraced by a ‘consensus’ of courts outside the relevant jurisdiction.”) (citation omitted);
2    Tuuamalemalo v. Greene, 946 F.3d 471, 477 (9th Cir. 2019) (“The right must be settled
3    law, meaning that it must be clearly established by controlling authority or a robust
4    consensus of cases of persuasive authority.”). Additionally, Plaintiffs’ fourth cited case is
5    simply the district court’s unpublished decision following the remand from the Ninth
6    Circuit in Cortez. Plaintiffs’ five remaining cited cases (Barefield, Dickinson, Green,
7    Wilson, and Moaddab) are unpublished decisions that were not issued by the Supreme
8    Court or Ninth Circuit. Additionally, four of those cases (Barefield, Dickinson, Green, and
9    Wilson) were decided after February 24, 2020. As such, they do not support Plaintiffs’
10   position under the second prong of the qualified immunity analysis. Brosseau v. Haugen,
11   543 U.S. 194, 200 n.4 (2004) (“[C]ases . . . that postdate the conduct in question . . . could
12   not have given fair notice . . . and are of no use in the clearly established inquiry.”).
13          Turning back to Farmer, Cortez, and Lemire, each of those cases involved a failure-
14   to-protect claim arising under markedly dissimilar factual circumstances. In Farmer, the
15   claim arose after prison officials placed the plaintiff in the “general population [of the
16   prison] despite knowledge that the penitentiary had a violent environment and a history of
17   inmate assaults, and despite knowledge that [plaintiff], as a transsexual who projects
18   feminine characteristics, would be particularly vulnerable to sexual attack by some . . .
19   inmates.” Farmer, 511 U.S. at 830-31. In Cortez, the claim arose after a single officer in
20   a “detention unit [that] housed a volatile mix of prisoners” chose to transport “three
21   mutually hostile, half-restrained, high-security inmates by himself through an isolated
22   prison passage known as ‘no man’s land,’” resulting in an attack by two of the inmates
23   (Cruz and Lavender) on the third (Cortez). Cortez, 776 F.3d at 1048. The officer knew
24   that failing to place full restraints on the three inmates violated prison policy, “knew about
25   the hostility between the [three] inmates” beforehand, and was aware “of dangers specific
26   to” Cortez due to his perceived status “as a protective custody inmate,” because “it was
27   common knowledge among prison guards that such inmates are targeted for attack by other
28   prisoners.” Id. at 1048-52. Finally, as discussed in more detail above, the claim in Lemire



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1    arose after supervisory prison officials chose to remove all of the floor officers for a period
2    of more than three hours, which enabled an inmate with well-documented mental health
3    issues to attempt to commit suicide. Lemire, 726 F.3d at 1068-69.
4           As several of the individual Defendants note in their reply briefs,12 Farmer, Cortez,
5    and Lemire are factually distinguishable from this case because they involved prison
6    officials’ failure to protect a specific inmate from a particularized, known danger, whether
7    due to the inmate’s transsexuality (Farmer)13 or perceived status as a protective-custody
8    inmate (Cortez) or mental health issues (Lemire).14 As courts have noted, this is the more
9    common type of failure-to-protect claim in the prison context. Barefield, 688 F. Supp. 3d
10
     12       Doc. 328 at 11 (CO II Mendoza); Doc. 330 at 3-4, 8 (Officer Elvey); Doc. 331 at
11   8-9 (Officer Bromund); Doc. 332 at 9-10 (Officer Hurst).
     13      Although Moaddab does not qualify as clearly established law for the reasons stated
12   above, it is also factually dissimilar to this case because, like Farmer, it involved jail
13   officials’ failure to protect a specific detainee who was known to be at a heightened risk of
     attack by virtue of his status. Moaddab, 2019 WL 1751841 at *6 (“The Classification
14   Team identified Moaddab as at heightened risk of attack by other inmates due to his sexual
     orientation, just as the transgender plaintiff in Farmer was identified as at heightened risk
15   of violence.”).
     14      Although not cited by Plaintiffs, other Ninth Circuit decisions allowing failure-to-
16   protect claims to proceed have also involved prison officials’ failure to protect a specific
     inmate who was known to be vulnerable to attack. Wilk v. Neven, 956 F.3d 1143, 1146
17   (9th Cir. 2020) (prison officials rejected the plaintiff’s request to be “moved . . . to
     administrative segregation for his protection” after another inmate “threatened to attack
18   and kill [him]” and the other inmate then “attacked [the plaintiff] with stones, gravel, and
     his fists”); Fierro v. Smith, 731 F. App’x 652, 653-54 (9th Cir. 2018) (prison officials
19   denied the plaintiff’s “requests for protective custody . . . six times between 2011 and
     2013,” even though the plaintiff “claimed throughout that time that he faced a statewide
20   threat from the Border Brothers prison gang, who have members in each of the prison units
     in the ASPC, and that he was therefore in danger in any general population unity within
21   the ASPC,” and “[s]hortly after his sixth request for PC was denied, [the plaintiff] was
     seriously assaulted by another prison inmate”); Armstead v. Fields, 638 F. App’x 601, 603
22   (9th Cir. 2016) (prison officials rejected the plaintiff’s request to be moved to a different
     cell, even though they knew the plaintiff’s cellmate had stated “three times that he could
23   not be placed with ‘blacks’” and the plaintiff “told them that he was ‘in harm’s way’ and
     that [his cellmate] had already made physical contact with him, and begged not to be left
24   in the cell,” and the cellmate then attacked the plaintiff); Clem v. Lomeli, 566 F.3d 1177,
     1180 (9th Cir. 2009) (prison official rejected the plaintiff’s request to be moved to a
25   different cell because his cellmate “was drunk and threatening to kill him” and the cellmate
     then “severely beat[] [the plaintiff], breaking his jaw and knocking him unconscious”). See
26   also Castro v. Cnty. of Los Angeles, 833 F.3d 1060, 1064 (9th Cir. 2016) (affirming jury’s
     determination that jail officials violated the plaintiff’s “due process right as a pretrial
27   detainee to be protected from harm at the hands of other inmates” where jail officials
     “ignored [the plaintiff’s] attempts to seek help,” which included “bang[ing] on the cell’s
28   window trying to attract attention,” after “a combative inmate who had been arrested on a
     felony charge” was placed in the plaintiff’s cell).


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1    at 1063 (“[T]he more common type of Eighth Amendment failure-to-protect, deliberate
2    indifference claim [is] based on specific, or individualized, threats posed by certain inmates
3    or groups of inmates to a specific plaintiff or class of inmates like plaintiff.”). Here, in
4    contrast, it is undisputed that Defendants did not have any reason to believe Yeager was
5    “particularly vulnerable to . . . attack.” Farmer, 511 U.S. at 831. Instead, Plaintiffs’ theory
6    is that Defendants created lax security conditions (in violation of prison policy) that, at
7    least in light of the nature of the inmates housed in Yeager’s cell block and the warnings
8    set forth in the Daily Briefing Sheet, amounted to deliberate indifference to the safety needs
9    of all of the inmates in Yeager’s cell block. This is sometimes referred to “as a generalized
10   failure-to-protect claim or an excessive-inmate-violence claim.” Barefield, 688 F. Supp.
11   3d at 1064.
12          Without in any way approving the deplorable security conditions in place on
13   February 24, 2020, the Court cannot say that Farmer, Cortez, and Lemire would have
14   “ma[d]e it obvious to all reasonable government actors, in [each Defendant’s] place, that
15   what he is doing violates federal law.” Shafer, 868 F.3d at 1117. Because none of those
16   cases involved a generalized failure-to-protect claim, they did not impart notice to
17   Defendants that the specific conduct at issue here violated the Eighth Amendment. Cf.
18   King v. Riley, 76 F.4th 259, 266-68 (4th Cir. 2023) (granting qualified immunity to a prison
19   guard, where the plaintiff’s theory was that the guard “knew” that the general “risk of
20   inmate violence was substantial” and that the guard’s “efforts to mitigate that risk . . . were
21   constitutionally deficient” and may have “knowingly violat[ed] a prison policy,” because
22   the plaintiff failed to “point to any analogous cases establishing this specific right”).
23          The lack of notice is further underscored by the fact that some individual aspects of
24   the challenged conduct at issue here had not, by February 24, 2020, been deemed
25   unconstitutional. For example, although Plaintiffs fault Defendants for their failure to
26   perform direct-view safety checks in compliance with prison policy, the Ninth Circuit did
27   not recognize “a constitutional right to direct-view safety checks” until July 2021 and
28   clarified that this “right was not clearly established” until then. Gordon v. Cnty. of Orange,



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1    6 F.4th 961, 965 (9th Cir. 2021).15 Separately, although Plaintiffs fault Defendants for
2    leaving various cell doors open in violation of prison policy, many courts have recognized
3    that “unlocked cell doors, by themselves, are not” necessarily unconstitutional. Oden v.
4    True, 2020 WL 4049922, *3 (S.D. Ill. 2020). See also Anderson v. Hairabedian, 2022 WL
5    1411784, *3 (6th Cir. 2022) (“Anderson . . . did not sufficiently allege deliberate
6    indifference based on Shorter’s electronically opening his and Smith’s cell doors at the
7    same time, resulting in a fight between them.”); Walton v. Dawson, 752 F.3d 1109, 1120
8    (8th Cir. 2014) (noting that “[w]hether unlocked cell doors pose an unconstitutional risk to
9    detainees . . . is always a factual question dependent on the totality of the specific prison’s
10   circumstances and the prison officials’ awareness of the risk” and that “[t]here is no
11   sweeping constitutional rule that every cell in every prison must be locked as soon as the
12   sun sets”); Bennett v. Washington, 2015 WL 731227, *11 (E.D. Pa. 2015) (“[T]here is
13   insufficient record evidence to establish that Plaintiff’s unlocked cell door created a
14   substantial risk of inmate-on-inmate attack, much less that there was such an obvious,
15   substantial risk that a jury could infer that COs Neal and Washington and Sergeant White
16   must have known of it.”); Burton v. Kindle, 401 F. App’x 635, 638 (3d Cir. 2010) (“Burton
17   has failed to allege that Smith behaved with deliberate indifference in unlocking Burton’s
18   cell.”).16
19
     15     Additionally, Gordon only recognized this right in the context of “pretrial
20   detainees” and explained that such checks must be “sufficient to determine whether their
     presentation indicates the need for medical treatment.” Gordon, 6 F.4th at 973. This case,
21   in contrast, involves a prison inmate (whose rights under the Eighth Amendment are not
     coextensive with the rights of pretrial detainees under the Fourteenth Amendment).
22   Additionally, Plaintiffs do not explain how the absence of safety checks has any bearing
     on the causation analysis related to their failure-to-protect claim (as opposed to their
23   failure-to-provide-medical-treatment claim). It is undisputed that the assault occurred very
     quickly.
24   16     To be clear, it is well established that a prison official may not intentionally unlock
25   a particular inmate’s cell door in order to enable an attack by other inmates. See, e.g.,
     Pavlick v. Mifflin, 90 F.3d 205, 208 (7th Cir. 1996) (“[A]lthough this case was litigated as
26   one of deliberate indifference, Pavlick’s allegations appear to go beyond simple
     ‘indifference’ to his safety. Viewing the evidence in the light most favorable to the verdict
27   (as we must), a reasonable jury could have inferred that, by opening Pavlick’s cell door
     and allowing the attackers to enter, Mifflin actually participated in the assault.”). But there
28   is no evidence of such intentional conduct here. Although Plaintiffs are correct that
     “[i]ntent is usually an issue of fact that . . . can be inferred from circumstantial evidence”
     (Doc. 306 at 36-37), no reasonable jury could find that the various security failures at issue

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1           What is left, then, is a claim that the overall set of security conditions created
2    through Defendants’ collective17 acts and omissions before 9:00 a.m. on February 24,
3    2020—which consisted of leaving certain cell doors open, allowing inmates to move in an
4    unrestricted manner through the unit, and not performing regular safety checks, all in
5    violation of prison policy—created a lax security environment that violated the Eighth
6    Amendment rights of all of the inmates in Yeager’s cell block, at least in light of
7    Defendants’ general awareness of the danger posed by the “close custody” inmates in that
8    cell block and awareness based on the Daily Briefing Sheet that there had been “[l]ots of
9    assaults lately.” However, no Ninth Circuit or Supreme Court case had recognized by
10   February 24, 2020 that such a set of conditions violates the Eighth Amendment and at least
11   some of the challenged conditions were not, on their own, recognized as necessarily
12   unconstitutional at that time.18
13   were the result of an intentional plan by some unspecified Defendant (or group of
14   Defendants) to allow Yeager to be assaulted.
     17      As several Defendants note, Plaintiffs’ response brief often “does little more than
15   lump every defendant into the same claims that they were deliberately indifferent, without
     regard for any specific act that they took or did not take” (Doc. 332 at 6) and seems to
16   “assert that the defendants should be collectively held liable for failing to prevent Yeager’s
     assault at 9:00 a.m.—regardless of each officer’s individual role” (Doc. 331 at 5). This
17   approach is particularly impermissible with respect to the failure-to-protect claim. To
     prevail on such a claim, Plaintiffs would need to provide a “very individualized” and fact-
18   intensive analysis of the security-related acts and omissions for which each Defendant was
     responsible, then show (among other things) that each individual Defendant’s acts and
19   omissions had a causal relationship with the attack at 9:00 a.m. Leer v. Murphy, 844 F.2d
     628, 634 (9th Cir. 1988) (“[T]he causation inquiry . . . must be more refined. We must
20   focus on whether the individual defendant was in a position to take steps to avert the
     stabbing incident, but failed to do so intentionally or with deliberate indifference. In order
21   to resolve this causation issue, we must take a very individualized approach which accounts
     for the duties, discretion, and means of each defendant. Especially when, as in this case, a
22   prisoner seeks to hold a prison employee individually liable because another prisoner
     attacked him, the prisoner must establish individual fault.”). However, Plaintiffs make no
23   effort to provide such an analysis in the portion of their response brief addressing the issue
     of causation. (Doc. 306 at 38-39.) As a result, at least some individual Defendants would
24   likely also be entitled to summary judgment on the failure-to-protect component of Count
     One due to a lack of causation. For example, Officer Bromund moved for summary
25   judgment on this basis (Doc. 249 at 10-11) and correctly notes in his reply that “it is
     undisputed [he] was working in an entirely different part of the building and was not
26   involved in any of the security walks that were performed in Mr. Yeager’s run prior to the
     assault” (Doc. 331 a 6). Nevertheless, because all of the individual Defendants are entitled
27   to qualified immunity with respect to the failure-to-protect component of Count One, it is
     unnecessary to perform a more refined, Defendant-by-Defendant causation analysis as to
28   the failure-to-protect component of Count One.
     18      The Court acknowledges that, in Barefield, the district court determined that there

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1           Of course, “there need not be a case directly on point, or even one with
2    fundamentally similar facts.” Chinaryan v. City of Los Angeles, 113 F.4th 888, 898 (9th
3    Cir. 2024) (cleaned up).     See generally Hope v. Pelzer, 536 U.S. 730, 741 (2002)
4    (“Although earlier cases involving ‘fundamentally similar’ facts can provide especially
5    strong support for a conclusion that the law is clearly established, they are not necessary to
6    such a finding. The same is true of cases with ‘materially similar’ facts.”); Scott v. Smith,
7    109 F.4th 1215, 1229 (9th Cir. 2024) (“Plaintiff need not identify a factual twin.”). But
8    the issue here, at least in the Court’s estimation, is that the factual differences between
9    Plaintiffs’ cited controlling authorities and this case are marked and significant.
10   Defendants are not accused of failing to protect a specific inmate who was known to be
11   vulnerable—as was the case in Farmer, Cortez, Lemire, and the many additional failure-
12   to-protect cases identified in footnote 14 above—but rather of creating lax security
13   conditions that exposed all of the inmates in Yeager’s cell block to an impermissible risk
14   of attack by other inmates. When, as here, a plaintiff fails to identify any “direct case law”
15   recognizing the unconstitutionality of the challenged conduct “at the time” of the conduct,
16   and when “the facts” of the plaintiff’s cited cases “are distinguishable,” the Ninth Circuit
17   has held that qualified immunity must be granted. Manriquez v. Ensley, 46 F.4th 1124,
18   1131-32 (9th Cir. 2022). See also City of Tahlequah, Okla. v. Bond, 595 U.S. 9, 12-13
19   (2021) (“It is not enough that a rule be suggested by then-existing precedent; the rule’s
20   contours must be so well defined that it is clear to a reasonable officer that his conduct was
21   unlawful in the situation he confronted. . . . [T]he decisions relied upon by the Court of
22   Appeals . . . [involved] facts . . . dramatically different from the facts here.”); Shooter, 4
23   F.4th at 962 (emphasizing that “the clearly established law must be particularized to the
24
     was clearly established law to support the plaintiff’s generalized failure-to-protect claim.
25   688 F. Supp. 3d at 1091-96. However, because Barefield is not a “controlling authority”
     and was not decided until 2023, it cannot supply the sort of clearly established law required
26   here. Additionally, although Barefield understandably relied on Eleventh Circuit law for
     purposes of its analysis, Eleventh Circuit law is not controlling for present purposes. Cf.
27   Pachote Johnson v. Nelson, 2024 WL 5153593, *1 (9th Cir. 2024) (“In support of her claim
     that the law was clearly established, Plaintiff cites only an unpublished memorandum that
28   postdates the conduct at issue and a single out-of-circuit opinion. Neither could clearly
     establish the law governing Nelson’s conduct . . . .”).


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1    facts of the case” and concluding that defendants were entitled to qualified immunity
2    because the plaintiff “relies on cases that arose in factual contexts that differ from” the
3    present case) (cleaned up).
4           Notwithstanding this, Plaintiffs argue that qualified immunity should be denied
5    because, “[s]ince Farmer, federal courts consistently recognize that prison officials violate
6    an inmate’s clearly established right to safety and freedom from inmate-on-inmate assault
7    when the officers are deliberately indifferent to prison conditions that pose an excessive
8    risk of harm.” (Doc. 306 at 29.) However, this is nothing more than a generalized
9    articulation of the deliberate-indifference standard as it applies in the failure-to-protect
10   context, and courts “must take care not to define the clearly established law at a high level
11   of generality because doing so avoids the crucial question whether the official acted
12   reasonably in the particular circumstances that he or she faced.” Manriquez, 46 F.4th at
13   1131 (cleaned up). Thus, in Estate of Ford v. Ramirez-Palmer, 301 F.3d 1043 (9th Cir.
14   2002), the Ninth Circuit rejected a similar argument. There, an inmate in a psychiatric unit
15   of a state prison (Ford) was killed after he was “double-celled” with another inmate
16   (Diesso) who had a long history of violent attacks on other inmates. Id. at 1045-47. The
17   Ninth Circuit resolved the first step of the qualified immunity analysis in the plaintiff’s
18   favor, holding that “if any of the officers knew that Diesso was acting out dangerously with
19   cellmates or that he was a threat to Ford but housed Ford with him anyway, this would
20   violate the Eighth Amendment.” Id. at 1050. For purposes of the second step of the
21   qualified immunity analysis, the plaintiff seemed to argue—just as Plaintiffs argue here—
22   that Farmer supplied the necessary “clearly established” law because it made “clear to a
23   reasonable prison official that if he knew about an excessive risk to inmate safety, and
24   inferred from the facts of which he was aware that a substantial risk of serious harm exists,
25   he would violate the law by disregarding it.” Id. The Ninth Circuit disagreed, explaining
26   that “it is not sufficient that Farmer clearly states the general rule that prison officials
27   cannot deliberately disregard a substantial risk of serious harm to an inmate.” Id. at 1050-
28   51. And because “neither Farmer nor subsequent authorities ha[d] fleshed out” whether



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1    the particular conduct at issue—“double-celling psychiatric inmates”—“changes from
2    being a risk of some harm to a substantial risk of serious harm,” the Ninth Circuit
3    concluded that all of the defendants were entitled to qualified immunity: “Although [the
4    defendants’ conduct] turned out to be quite unfortunate judgments, we cannot say that a
5    reasonable correctional officer would have clearly understood that the risk of serious harm
6    was so high that he should not have authorized the double-celling.” Id. at 1051.
7           Plaintiffs’ final argument is that even in the absence of an analogous controlling
8    precedent, qualified immunity may be denied “in novel circumstances,” such as where the
9    constitutional violation is obvious. (Doc. 306 at 34.) Although Plaintiffs are correct that
10   “[i]n the absence of analogous case law, a plaintiff can nevertheless surmount the clearly-
11   established-law requirement by demonstrating instead that the constitutional violation was
12   obvious,” Plaintiffs overlook that “such cases are extraordinarily rare.” Perez v. City of
13   Fresno, 98 F.4th 919, 927 (9th Cir. 2024) (cleaned up). This is not such an extraordinarily
14   rare case, as Plaintiffs have not identified any controlling authority from the Supreme Court
15   or Ninth Circuit upholding a generalized failure-to-protect claim (let alone upholding such
16   a claim under similar facts), at least some aspects of the challenged conduct (i.e., failing to
17   complete security checks and leaving cell doors open) were not necessarily
18   unconstitutional as of February 24, 2020, and the Ninth Circuit has declined to invoke the
19   obviousness exception in other failure-to-protect cases involving highly questionable
20   security measures (Estate of Ford).
21          C.     Failure To Provide Assistance To Yeager Following The Attack
22                 (Deliberate Indifference To Serious Medical Needs)
23                 1.     Legal Standard
24          “To set forth a constitutional claim under the Eighth Amendment predicated upon
25   the failure to provide medical treatment, first the plaintiff must show a serious medical
26   need by demonstrating that failure to treat a prisoner’s condition could result in further
27   significant injury or the unnecessary and wanton infliction of pain. Second, a plaintiff must
28   show the defendant’s response to the need was deliberately indifferent.” Lemire, 726 F.3d



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1    at 1081. “The deliberate indifference prong requires (a) a purposeful act or failure to
2    respond to a prisoner’s pain or possible medical need, and (b) harm caused by the
3    indifference.” Id. (cleaned up). “Indifference may appear when prison officials deny,
4    delay or intentionally interfere with medical treatment . . . . The indifference to a prisoner’s
5    medical needs must be substantial. Mere indifference, negligence, or medical malpractice
6    will not support this claim. Even gross negligence is insufficient to establish deliberate
7    indifference to serious medical needs.” Id. (cleaned up).
8                  2.      Defendant-By-Defendant Analysis
9                          a.     Officer Bromund
10          Officer Bromund first argues that he cannot be held liable for failing to provide
11   medical or other assistance to Yeager following the attack because “there is no evidence
12   that [he] knew of any serious risk to Yeager’s health during either his 2:42 p.m. security
13   walk or his 3:22 p.m. security walk. There is no evidence, for example, that [he] knew
14   Yeager had been previously assaulted, knew Yeager was not breathing or was having
15   trouble breathing, or knew Yeager was suffering from a brain injury while he was
16   conducting his walks. . . . Nor is there any evidence showing that [he] was made aware of
17   Yeager’s condition through any other means prior to ICS being initiated. Of course,
18   evidence to that effect might raise an issue of deliberate indifference. But, there is no such
19   evidence, circumstantial or otherwise, in this case.” (Doc. 249 at 9-10.) In response,
20   Plaintiffs identify various reasons why a reasonable jury could find that Officer Bromund
21   was aware of the serious risk to Yeager’s health, including that Yeager’s “whole head was
22   still bloody when ICS was eventually called at 4:17 p.m., suggesting that [Yeager’s]
23   injuries—and the blood that would have pooled around him—were continuously obvious
24   from 9:00 a.m. until ICS was called seven hours later.” (Doc. 306 at 20.)
25          Plaintiffs have the better of this argument. Construed in the light most favorable to
26   Plaintiffs, a reasonable jury could conclude that although inmates made several attempts to
27   clean up Yeager and Yeager’s cell after the assault at 9:00 a.m., Yeager’s injuries
28   nevertheless would have been visible to anyone who looked into his cell between 9:00 a.m.



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1    and 4:16 p.m. For example, Inmate Severns contends that when he looked into Yeager’s
2    cell at 9:30 a.m., Yeager was lying on the floor, unresponsive, in a pool of blood with
3    obvious injuries. It is undisputed that Yeager was also covered in blood and lying in a pool
4    of vomit when officers first claim to have noticed his injuries at 4:16 p.m. Additionally,
5    during the post-incident investigation, King expressed incredulity at the notion that any
6    observer could have overlooked Yeager’s injuries, making such statements as “how can
7    you not see the split skull, his eye was split open, the blood all on the pillow?” and “[n]o
8    one, my grandmother, who’s half blind, wouldn’t see that.” (Doc. 302 ¶¶ 201-02.)
9           This determination is significant because Officer Bromund looked into Yeager’s
10   cell at or around 2:42 p.m. and then made conflicting statements about what he observed,
11   eventually stating that he was able to confirm Yeager’s living, breathing flesh because he
12   saw Yeager’s chest movement. Additionally, after looking into Yeager’s cell, Officer
13   Bromund made gestures toward Yeager’s cell while speaking with CO II Mendoza.
14   Finally, Officer Bromund was scheduled to conduct another security check of Yeager’s
15   cell around 3:22 p.m. but stopped short of Yeager’s cell and then provided an explanation
16   for this omission (i.e., he had been called away by CO II Mendoza “or another officer” for
17   a training exercise) that was not corroborated by CO II Mendoza, who denied calling
18   Officer Bromund away for a training exercise.
19          A reasonable jury could conclude, based on this evidence, that Officer Bromund
20   observed Yeager’s injuries during the 2:42 cell check but then did nothing to provide
21   assistance. The reasonableness of this potential conclusion is underscored by the fact that
22   Officer Bromund engaged in various unusual actions after looking into the cell at 2:42 p.m.,
23   including making gestures to CO II Mendoza toward Yeager’s cell, declining to look into
24   Yeager’s cell during the next security walk, and providing an uncorroborated explanation
25   for that omission. Of course, there may be benign explanations for those actions, but a
26   reasonable jury considering all of this evidence could choose to disbelieve Officer
27   Bromund’s claim that he was subjectively unaware of Yeager’s injuries and need for
28   medical assistance.



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1           Officer Bromund next argues that “there is no evidence that [he] proximately caused
2    either Yeager’s alleged injuries or his death. Nor is there any admissible evidence that
3    [his] conduct deprived Yeager of a chance at recovery at either 2:42 p.m. or 3:22 p.m. that
4    day. Simply put, there is no admissible evidence indicating that had [he] done things
5    differently at either 2:42 p.m. or 3:17 p.m. (5–6 hours after the assault), Yeager would
6    likely be alive today.” (Doc. 249 at 10-11.)
7           This argument lacks merit. One of Plaintiffs’ experts, Dr. Sharma, a neurosurgeon,
8    opined in relevant part that:
9           [Yeager] likely aspirated or inhaled vomit or blood throughout the day on
10          February 24, 2020 as suggested by bilateral rhonchi when his breath sounds
            were initially assessed, and as confirmed by Chandler Regional’s diagnosis
11          of aspiration pneumonia (i.e., the presence of fluid in his lungs). This
12          establishes that Mr. Yeager respirations and oxygenation were impaired by
            the presence of fluid in his lungs and prevented a sufficient amount of oxygen
13          from reaching his brain. Furthermore, the injured brain tissue swells as the
14          body attempts to repair the area by providing more blood flow.
            Unfortunately, for Mr. Yeager, his overall oxygenation as well as his blood
15          flow were both compromised due to cerebral edema and a secondary
16          decrease in overall oxygenation and hypoxia due to his lung aspiration. In
            short terms, time is brain, and the longer Mr. Yeager’s brain was deprived of
17          oxygen, the more damage it suffered, and the less likely it became that Mr.
            Yeager would recover meaningful functioning after his head injury.
18
19          ...

20          If recognized in a reasonable time frame and his poor oxygenation was
            recognized and restored, he likely would have recovered reasonably from his
21
            diffuse cranial injury. This is further established in the fact that he had
22          normal intracranial pressures; therefore, his presentation and overall poor
            outcome is more consistent with a hypoxic injury to the brain and the lack of
23          oxygenation did deprive him a reasonable chance at recovery, albeit with
24          some functional limitation.
25
     (Doc. 302-1 at 313.) Construed in the light most favorable to Plaintiffs, Dr. Sharma’s
26
     opinion serves as evidence that Officer Bromund’s failure to provide medical care to
27
     Yeager after observing his injuries at 2:42 p.m.—at which time a reasonable jury could
28
     conclude that Officer Bromund believed Yeager was still alive, given Officer Bromund’s


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1    claim that he observed Yeager’s living, breathing flesh during the 2:42 p.m. cell check19—
2    was a proximate cause of Yeager’s death.
3           Next, Officer Bromund argues he is entitled to summary judgment under the second
4    prong of the qualified immunity analysis due to the absence of clearly established law.
5    (Doc. 249 at 11-14.) In support of this argument, Officer Bromund emphasizes that the
6    constitutional right to direct-view safety checks was not clearly established until, at the
7    earliest, the Ninth Circuit’s Gordon decision in 2021. (Id.)
8           Officer Bromund is not entitled to qualified immunity because Plaintiffs’ claim
9    against him is not premised on the mere absence of safety checks—as noted, there is
10   evidence from which a reasonable jury could conclude that Officer Bromund became
11   subjectively aware of Yeager’s injuries during the 2:42 p.m. cell check yet failed to provide
12   medical assistance despite that awareness. Unlike in relation to Plaintiffs’ generalized-
13   failure-to-protect theory of liability, there was ample controlling authority in the Ninth
14   Circuit as of February 24, 2020 establishing that a prison guard violates the Eighth
15   Amendment by failing to provide medical assistance to an injured inmate in need of such
16   assistance. Among other things, this was the situation as to two of the defendants who
17   were denied qualified immunity in Lemire: “The third watch floor officers, Cahoon and
18   Holliday, were the first of the prison personnel to arrive at St. Jovite’s cell . . . [but] delayed
19   administering aid to St. Jovite, while St. Jovite was unconscious, unresponsive, and
20   purplish in color on the floor. . . . As other circuits have held, failing to provide CPR or
21   other life-saving measures to an inmate in obvious need can provide the basis for liability
22   under § 1983 for deliberate indifference.” Lemire, 726 F.3d at 1082.
23          Next, Officer Bromund argues that because “[a]n Eighth Amendment loss of
24
     19     These facts also help distinguish this case from Palmer v. Vasquez, 696 F. App’x
25   782 (9th Cir. 2017), which Officer Bromund cites in his motion. (Doc. 249 at 10.) In
     Palmer, the court found a lack of causation in a prisoner-death case, where the plaintiff’s
26   theory of liability hinged on the guards’ failure to perform timely “welfare checks,”
     because even “[a]ssuming that Vasquez violated the welfare check policy between 2 pm,
27   when his shift began, and 3:15 pm, when he discovered Smith's death, . . . it is not clear
     that checking on Smith during that period would have prevented his death, because the
28   county coroner was unable to determine the time at which it occurred.” Id. at 785. Here,
     in contrast, Yeager was still alive at 2:42 p.m.


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1    familial association claim requires an underlying violation of the family member’s
2    constitutional rights,” and he “did not violate Yeager’s Eighth Amendment rights,” it
3    follows that “Plaintiffs’ loss of familial association claim accordingly fails.” (Doc. 249 at
4    14.) However, because the Court has now concluded that Officer Bromund is not entitled
5    to summary judgment as to Yeager’s Eighth Amendment claim, this argument fails.
6           Finally, Officer Bromund seeks summary judgment on Plaintiffs’ request for
7    punitive damages. (Doc. 249 at 14-15.) This request is denied. For the same reasons that
8    a reasonable jury could find that Officer Bromund was deliberately indifferent to Yeager’s
9    serious medical needs in violation of the Eighth Amendment, a reasonable jury could also
10   find that Officer Bromund exhibited “reckless or callous indifference to the constitutional
11   rights of” Yeager, thereby warranting punitive damages. Dang v. Cross, 422 F.3d 800, 807
12   (9th Cir. 2005).
13                        b.     Officer Hurst
14          Officer Hurst first argues that he cannot be held liable for failing to provide medical
15   or other assistance to Yeager following the attack because “there is no evidence that [he]
16   was aware of any need for [Yeager] to receive medical treatment. . . . In the two security
17   walks that [he] performed, he did not perceive anything out of the ordinary. No one
18   communicated to [him] that they observed anything out of the ordinary in Yeager’s cell, or
19   that he needed assistance. At the 4:16 p.m. formal count, [Officers] Hurst and Bromund—
20   for the first time—saw Yeager lying on the floor, and [Officer] Hurst immediately initiated
21   the ICS.” (Doc. 258 at 10-13.)
22          This argument lacks merit.       As discussed in relation to Officer Bromund, a
23   reasonable jury could conclude that Yeager’s injuries would have been visible to anyone
24   who looked into his cell between 9:00 a.m. and 4:16 p.m. The evidence shows that Officer
25   Hurst looked into Yeager’s cell at 9:07 a.m., mere minutes after the attack, and claims to
26   have verified Yeager’s living, breathing flesh during this visit. Officer Hurst also looked
27   into Yeager’s cell at 12:52 p.m. and again claims to have verified Yeager’s living, breathing
28   flesh during this visit. A reasonable jury could thus conclude that Officer Hurst observed



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1    Yeager’s injuries during the 9:07 a.m. and/or 12:52 p.m. cell checks but did nothing to
2    provide assistance afterward.
3           Officer Hurst’s final argument is that he is entitled to summary judgment under the
4    second prong of the qualified immunity analysis due to the absence of clearly established
5    law. (Doc. 258 at 13-15.) Like Officer Bromund, Officer Hurst emphasizes that the
6    constitutional right to direct-view safety checks was not clearly established until, at the
7    earliest, the Ninth Circuit’s Gordon decision in 2021. (Id.)
8           These arguments fail for the same reasons as Officer Bromund’s arguments.
9    Plaintiffs’ claims against Officer Hurst are not premised on the mere absence of safety
10   checks—as noted, there is evidence from which a reasonable jury could conclude that
11   Officer Hurst became subjectively aware of Yeager’s serious injuries during the 9:07 a.m.
12   and/or 12:52 p.m. cell checks yet failed to provide medical assistance despite that
13   awareness. Lemire provides the clearly established law showing that such conduct was
14   unlawful on February 24, 2020.
15                        c.     Officer Elvey
16          Among other things, Officer Elvey argues that he is entitled to summary judgment
17   because “there is no evidence to establish that [he] acted with deliberate indifference.”
18   (Doc. 269 at 8-11.) All of Plaintiffs’ responsive arguments concern Officer Elvey’s duty,
19   as the key officer, to open and close cell doors and his failure to carry out that duty in
20   compliance with prison policy. (Doc. 306 at 6, 16-18.) In reply, Officer Elvey repeats
21   some of his earlier arguments while emphasizing that is undisputed that he “was unable to
22   see into Mr. Yeager’s cell.” (Doc. 330 at 6, citing Doc. 312 ¶¶ 44-46, 57.)
23          There is insufficient evidence to hold Officer Elvey liable under a failure-to-
24   provide-medical-treatment theory. There is no evidence that Officer Elvey ever looked
25   into Yeager’s cell and observed Yeager’s injuries or was otherwise made aware of Yeager’s
26   injuries by the other Defendants. This is because Officer Elvey, unlike the other individual
27   Defendants, had no responsibility for conducting security checks or looking into cells and,
28   in fact, could not see into Yeager’s cell from his vantage point as the key officer.



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1           Because Officer Elvey cannot be held responsible for violating Yeager’s Eighth
2    Amendment rights, Officer Elvey’s request for summary judgment on Plaintiffs’ derivative
3    familial association claims (Doc. 269 at 11) is also granted.
4                         d.      CO II Mendoza
5           CO II Mendoza argues, in relation to Plaintiffs’ failure-to-provide-medical-
6    treatment theory of liability, that he is entitled to summary judgment because he “was not
7    aware that Yeager was in medical distress. [Officer] Mendoza did not see Yeager bleeding
8    in his cell or on the floor of his cell until ICS was activated. None of [the other Defendants]
9    told [Officer] Mendoza that Yeager appeared to be in any physical distress or required aid.
10   . . . The assault occurred at approximately 9:00 AM. The only time after this when
11   [Officer] Mendoza even went up to the second tier where Yeager’s cell was located was at
12   2:42 PM.” (Doc. 282 at 13-14.)
13          The analysis as to CO II Mendoza is more complicated than as to Officers Bromund
14   and Hurst because there is no evidence that CO II Mendoza personally looked into
15   Yeager’s cell between 9:00 a.m. and 4:16 p.m. Nevertheless, the Court concludes there is
16   sufficient circumstantial evidence from which a reasonable jury could find that CO II
17   Mendoza was subjectively aware of Yeager’s injuries and serious need for medical
18   assistance and declined to provide assistance despite that awareness.
19          The relevant chronology is as follows. First, at 9:06 a.m., Officer Hurst and CO II
20   Mendoza entered the run for a security check. As noted, Officer Hurst looked into Yeager’s
21   cell during that security check and a reasonable jury could conclude that Officer Hurst
22   became aware of Yeager’s injuries and need for medical assistance as a result. Although
23   CO II Mendoza was not with Officer Hurst when this occurred, CO II Mendoza was Officer
24   Hurst’s FTO, which creates at least a weak inference that Officer Hurst would have
25   informed CO II Mendoza of what he had just seen.
26          Second, at 11:00 a.m., CO II Mendoza asked CO II Marshall, who was the assigned
27   control room officer, to complete the formal count (even though CO II Mendoza did not
28   have the authority to make such a request). At or around 11:20 a.m., CO II Marshall



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1    stopped in front of Yeager’s cell, stood in front of the cell and stared into it for
2    approximately three minutes, and at one point made an aborted effort to remove his radio
3    from its holster in preparation to make a radio call. Afterward, CO II Marshall made
4    conflicting statements about his conduct. As explained below, this episode provides
5    sufficient evidence from which a reasonable jury could conclude that CO II Marshall
6    became aware of Yeager’s injuries and need for medical assistance. And although CO II
7    Mendoza was not with CO II Marshall when this occurred, all of the unusual details create
8    at least a weak inference that CO II Mendoza arranged for CO II Marshall to perform this
9    particular count because he wished to create deniability as to his awareness of Yeager’s
10   injuries and need for medical assistance.
11          Third, as noted, at 12:52 p.m., Officer Hurst once again looked into Yeager’s cell.
12   Once again, CO II Mendoza was not present, but there is at least a weak inference that he
13   became aware of Officer Hurst’s observations in light of his role as Officer Hurst’s FTO.
14          Fourth, as noted, at or around 2:42 p.m., Officer Bromund and CO II Mendoza
15   approached Yeager’s cell. CO II Mendoza stopped walking right before reaching the cell
16   while Officer Bromund looked into the cell, then spoke to CO II Mendoza and gestured
17   over his shoulder toward the cell. This episode provides further circumstantial evidence
18   that CO II Mendoza was aware of Yeager’s injuries and need for medical care, even though
19   CO II Mendoza did not derive that awareness from a direct look into Yeager’s cell.
20          Fifth, as noted, at or around 3:17 p.m., Officer Bromund started conducting a
21   security check but stopped short of Yeager’s cell. CO II Mendoza was watching Officer
22   Bromund complete this walk from the control room, and CO II Mendoza and Officer
23   Bromund later gave arguably conflicting accounts of why Officer Bromund stopped short.
24   Although this episode might seem benign in isolation, a reasonable jury could conclude
25   that, at least when it is considered in conjunction with all of the other evidence concerning
26   CO II Mendoza’s unusual conduct during the preceding hours, it serves as further proof of
27   CO II Mendoza’s awareness of Yeager’s injuries and need for medical attention.
28          Alternatively, CO II Mendoza argues he is entitled to summary judgment under the



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1    second prong of the qualified immunity analysis due to the absence of clearly established
2    law. (Doc. 282 at 14-15.) Like Officers Bromund and Hurst, CO II Mendoza emphasizes
3    that the constitutional right to direct-view safety checks was not clearly established until,
4    at the earliest, the Ninth Circuit’s Gordon decision in 2021. (Id.)
5           These arguments fail for the same reasons as Officer Bromund’s and Officer Hurst’s
6    arguments. Plaintiffs’ claims against CO II Mendoza are not premised on the mere absence
7    of safety checks and Lemire provides the clearly established law showing that CO II
8    Mendoza’s challenged conduct was unlawful on February 24, 2020.
9                         e.     CO II Marshall
10          CO II Marshall “does not dispute Yeager had a serious need” but contends he is
11   nevertheless entitled to summary judgment because he “did not know of the assault nor
12   was he aware of any facts that allowed him to infer that Yeager needed medical attention.
13   The only available information was the current state of the cell and the appearance of the
14   inmate. Due to inmates cleaning up the results of the assault, the cell’s condition was
15   effectively normal. There was no visible evidence of an assault (i.e., blood, misarranged
16   cell, etc.) on the cell walls, bunk beds, or floors. Further, Yeager’s appearance did not
17   visibly indicate a need for medical attention. [CO II] Marshall asserted that Yeager
18   appeared to be asleep.” (Doc. 285 at 12-13.)
19          This argument lacks merit because it ignores the existence of genuinely disputed
20   issues of material fact. As discussed, a reasonable jury could conclude that Yeager’s
21   injuries and need for medical care would have been apparent to anyone who looked into
22   his cell between 9:00 a.m. and 4:16 p.m.—and, thus, choose to disbelieve CO II Marshall’s
23   claim that he did not notice anything out of the ordinary when he looked into Yeager’s cell
24   at 11:20 a.m. The Court also notes that a reasonable jury could view the circumstances
25   surrounding CO II Marshall’s visit to Yeager’s cell at 11:20 a.m. as suspicious—CO II
26   Marshall stood in front of the cell, stared into it for approximately three minutes, at one
27   point made an aborted effort to remove his radio from its holster in preparation to make a
28   radio call, and then made conflicting statements about his conduct.



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1           CO II Marshall next argues that he is entitled to summary judgment because there
2    is insufficient evidence of causation. (Doc. 285 at 13-14.) This argument fails for the same
3    reason as Officer Bromund’s causation argument—it ignores Dr. Sharma’s opinion, which
4    creates a genuinely disputed issue of material fact over whether Yeager would have
5    survived if he had received prompt medical attention following CO II Marshall’s visit to
6    his cell at 11:20 a.m.
7           Next, CO II Marshall argues he is entitled to summary judgment under the second
8    prong of the qualified immunity analysis due to the absence of clearly established law.
9    (Doc. 285 at 9-11.) Like Officers Bromund and Hurst and CO II Mendoza, CO II Marshall
10   emphasizes that the constitutional right to direct-view safety checks was not clearly
11   established until, at the earliest, the Ninth Circuit’s Gordon decision in 2021. (Id. at 9-10.)
12   Separately, CO II Marshall acknowledges that “[t]here are other cases where officers were
13   not protected by qualified immunity when they noticed someone was unconscious” but
14   contends those cases are distinguishable because they “involve (a) either pretrial detainees
15   (Fourteenth Amendment standard) or free citizens (Fourth Amendment standard), instead
16   of prisoners (Eighth Amendment standard); and (b) the officers caused the decedent to
17   become unconscious, evidencing the officer’s knowledge of the person’s unconscious
18   state.” (Id. at 10-11.)
19          These arguments fail for the same reasons as Officer Bromund’s, Officer Hurst’s,
20   and CO II Mendoza’s arguments. Plaintiffs’ claims against CO II Marshall are not
21   premised on the mere absence of safety checks and Lemire provides the clearly established
22   law showing that CO II Marshall’s challenged conduct was unlawful on February 24, 2020.
23          CO II Marshall’s final two arguments mirror Officer Bromund’s final two
24   arguments—namely, (1) Plaintiffs’ familial association claims fail because they are
25   contingent on a finding that Yeager’s Eighth Amendment rights were violated; and (2)
26   there is insufficient evidence to support an award of punitive damages. (Doc. 285 at 14-
27   15.) Those arguments fail for the same reasons as Officer Bromund’s.
28          …



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1    II.    Count Two
2           In Count Two of the complaint, Plaintiffs assert a state-law wrongful death claim
3    against the State. (Doc. 1-3 ¶¶ 66-74.)
4           The State argues it is entitled to summary judgment on Count Two because, under
5    A.R.S. § 12-820.02(A)(4), it enjoys immunity from liability for “[a]ny injury caused by a
6    prisoner to any other prisoner” unless (1) the individual Defendants acted intentionally or
7    with gross negligence; and (2) the individual Defendants’ actions were the proximate cause
8    of Yeager’s death. (Doc. 260 at 8-17.) As for the gross negligence standard, the State
9    contends it is “closely intertwined” with “the deliberate indifference element of proof under
10   Section 1983” and argues that Plaintiffs cannot establish gross negligence here because
11   “there is no evidence that any of the Officer Defendants had knowledge of any risk or threat
12   to Mr. Yeager” and “[n]one of the Officer Defendants knew that Mr. Yeager had been
13   assaulted . . . until the ICS was initiated at 16:17.” (Id. at 11, 14.)
14          These arguments are unavailing. As discussed in Part I.C above, a reasonable jury
15   could conclude that at least four of the Individual Defendants became aware, long before
16   4:17 p.m., of Yeager’s injuries and need for medical assistance and then acted with
17   deliberate indifference to Yeager’s serious medical needs, thereby proximately causing
18   Yeager’s death. As the State acknowledges, the gross negligence standard resembles the
19   deliberate indifference standard, so Plaintiffs’ evidence is also sufficient to create a jury
20   question on the issue of gross negligence.
21          The State’s final argument is that it is entitled to summary judgment on any claim
22   for punitive damages associated with Count Two because, under A.R.S. § 12-820.04, it has
23   absolute immunity from punitive damages associated with state-law claims. (Doc. 260 at
24   17.)
25          Plaintiffs do not respond to this argument. (Doc. 306.) The Court construes this
26   omission as a concession and the State is correct in any event—under A.R.S. § 12-820.04,
27   “a public entity . . . is [not] liable for punitive or exemplary damages.” Id.
28          …



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1    IT IS ORDERED:
2           1.     The reference to the Magistrate Judge is withdrawn as to all six pending
3    summary judgment motions (Docs. 249, 258, 252/282, 260, 269, 285.)
4           2.     Officer Bromund’s motion for summary judgment (Doc. 249) is denied.
5           3.     CO II Mendoza’s motion for summary judgment (Docs. 252 and 282) is
6    denied.
7           4.     Officer Hurst’s motion for summary judgment (Doc. 258) is denied.
8           5.     Officer Elvey’s motion for summary judgment (Doc. 269) is granted.
9           6.     CO II Marshall’s motion for summary judgment (Doc. 285) is denied.
10          7.     The State’s motion for summary judgment (Doc. 260) is granted in part
11   and denied in part. More specifically, the motion is granted as to Plaintiffs’ claim against
12   the State in Count One and as to Plaintiffs’ request for punitive damages associated with
13   Count Two.
14          8.     This action is referred by random lot to Magistrate Judge Morrissey for the
15   purpose of conducting a settlement conference.
16          9.     The parties must jointly contact the chambers of Magistrate Judge Morrissey
17   at 602-322-7680 within 14 days of the date of this Order to schedule a settlement
18   conference.
19          Dated this 31st day of March, 2025.
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